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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

In re: Kimberly Anne Shannon, Debtor           )                       Case No. 17-35991-KLP
                                               )                       Chapter 13

                          MOTION TO DISMISS CASE WITH PREJUDICE

         COMES NOW Suzanne E. Wade, Chapter 13 Trustee, and moves this Court to dismiss the case
of Kimberly Anne Shannon (the “Debtor”), with prejudice and a prohibition from re-filing a bankruptcy
case under any chapter of the Bankruptcy Code, in any jurisdiction in the United States, for a period of
at least two (2) years; and in support thereof states as follows:
                                                   Parties

    1. Kimberly Anne Shannon is not represented by counsel in this case.
    2. On or about December 1, 2017, Suzanne E. Wade was appointed Chapter 13 trustee in this case.
        She continues to serve as the Chapter 13 Trustee in this case.

                                         Jurisdiction and Venue
    3. This motion is commenced pursuant to Rule 9013 of the Federal Rules of Bankruptcy Procedure.

    4. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and1334, and 11 U.S.C.
        §§ 105 and1307(c). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (J).

    5. This Motion is brought by the Trustee in furtherance of her duties as set forth in 11 U.S.C. §
        1302(b), and is filed for the specific purpose of having the dismissal of this case be with prejudice
        with a prohibition from re-filing any bankruptcy case under any chapter of the Bankruptcy Code
        in any jurisdiction of the United States for a period of at least two (2) years.

                                               Background
    6. On or about December 1, 2017 (the “Petition Date”), the Debtor filed a voluntary petition for
        relief under Chapter 13 of the Bankruptcy Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy
        Code”), designated as Case Number 17-35991-KLP (the “Current Case”).

    7. Prior to the Current Case, the Debtor has filed one Chapter 7 case and three Chapter 13 cases,
        three of which have been dismissed. The cases can be summarized as follows:

            a. The first case was filed on March 20, 2014, under the name Kimberly Anne Worsham-
               Shelton under Chapter 7. The Discharge of Debtor was entered on July 2, 2014. (Case
               No. 14-31465-KRH)
Suzanne E. Wade, Chapter 13 Trustee
Virginia State Bar Number 31868
1313 East Main Street, Suite A
Post Office Box 1780
Richmond, Virginia 23218-1780
(804) 775-0979
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            b. The second case, filed June 12, 2015, under the name Kimberly Anne Worsham-Shelton,
               was dismissed by Order entered July 28, 2015 after the Debtor failed to appear at the §
               341 Meeting of Creditors (Case No. 15-33001-KLP).

            c. The third case, filed May 4, 2017, was dismissed by Order on July 27, 2017, after the
               Debtor failed to appear at the § 341 Meeting of Creditors (Case No. 17-32330-KRH).

            d. The fourth case, filed September 19, 2017, was dismissed by Order on October 26, 2017
               upon the Court’s denial of the Debtor’s Motion to Waive the Credit Counseling
               Requirement and the Court’s denial of the Debtor’s Motion to Reconsider ( Case No. 17-
               34692-KRH).


    8. On December 6, 2017, the Court issued a Notice to Cure Credit Counseling Certification
       Deficiency (the “Notice”). The Notice advised that pursuant to Local Bankruptcy Rule 1007-
       1(I)(2) the Debtor must file with the Court certificate of credit counseling. The Notice also
       provided that failure to cure the credit counseling deficiency by December 15, 2017 would result
       in the automatic dismissal of the case.

    9. Upon information and belief, the Debtor has failed to cure the credit counseling deficiency
        required by the foregoing Notice.
                                                  Argument
    10. 11 U.S.C. § 105 provides, in pertinent part, that “[t]he court may issue any order, process, or
        judgment that is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. §
        105(a) (2016).

    11. Pursuant to Local Bankruptcy Rule 1007-1 (I)(2), failure to cure credit counseling deficiency
        would result in the dismissal of case.

    12. In addition, the Trustee would suggest the Debtor’s history of repetitive bankruptcy filings
        demonstrates a lack of good faith, and is prejudicial to creditors.

    13. Therefore, dismissal is appropriate pursuant to 11 U.S.C. § 1307(c)(1) and (c)(3).

    14. In addition to dismissal, the Trustee seeks an order preventing the Debtor from filing another
        bankruptcy case for a period of at least two (2) years.
       WHEREFORE, the Chapter 13 Trustee, by counsel, respectfully requests the Court dismiss this
case with prejudice against the Debtor filing any other bankruptcy case in any jurisdiction in the United
States under any chapter of the Bankruptcy Code for a period of at least two (2) years from the entry of


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this Order on the Court’s docket, and grant any other and further relief which the Court deems equitable
and just.
                                                             Respectfully submitted,
Date: December 19, 2017                                            /s/ Suzanne E. Wade                 .




                                                                       Chapter 13 Trustee

                                      CERTIFICATE OF SERVICE

        I hereby certify a true copy of the foregoing MOTION TO DISMISS CASE WITH PREJUDICE
was served electronically or by first-class mail, postage prepaid, this 19th day of December, 2017, upon
the following parties:
        Kimberly Anne Shannon, PRO SE Debtor
        3616 Luckylee Crescent
        North Chesterfield, VA 23234

        Padma Vaghela
        Claims Processor for Capital One Auto Finance
        AIS Portfolio Services, LP
        P. O. Box 165028
        Irving, TX 75016

                                                            /s/ Suzanne E. Wade                    .




                                                                Chapter 13 Trustee




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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

In re: Kimberly Anne Shannon, Debtor          )                      Case No. 17-35991-KLP
                                              )                      Chapter 13
        3616 Luckylee Crescent                )
        North Chesterfield, VA 23234          )
                                              )
           XXX-XX -6679                       )

NOTICE OF MOTION TO DISMISS CASE WITH PREJUDICE, AND HEARING THEREON

       Suzanne E. Wade, Chapter 13 Trustee, has filed with the Court a Motion to Dismiss Case With
Prejudice (the “Motion”) in the above-captioned case.
       Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.
       If you do not want the Court to grant the relief sought in the Motion, or if you want the Court to
consider your views on the Motion, then on or before January 10, 2018, you or your attorney must:
        (X)File with the Court, at the address shown below, a written response pursuant to
        Local Bankruptcy Rule 9013-1(H). If you mail your response to the Court for
        filing, you must mail it early enough that the Court will receive it on or before the
        date stated above.
                        Clerk of Court
                        United States Bankruptcy Court
                        701 East Broad Street, Suite 4000
                        Richmond, Virginia 23219
        You must also mail a copy to:
                        Suzanne E. Wade, Chapter 13 Trustee
                        Post Office Box 1780
                        Richmond, Virginia 23218-1780
        (X) Attend a hearing, which has been scheduled for January 17, 2018 at 9:30 a.m. in
        the United States Bankruptcy Court, 701 E. Broad Street, Courtroom 5100,
            Richmond, VA 23219 before the Honorable Judge Keith L. Phillips.
        If you or your attorney do not take these steps, the Court may decide that you do not oppose the



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relief sought in the Motion, and may enter an order granting that relief.

Date: December 19, 2016                                              /s/ Suzanne E. Wade               .




                                                                         Chapter 13 Trustee

                                      CERTIFICATE OF SERVICE

        I hereby certify a true copy of the foregoing MOTION TO DISMISS CASE WITH PREJUDICE
was served electronically or by first-class mail, postage prepaid, this 19th day of December, 2017, upon
the following parties:
        Kimberly Anne Shannon, PRO SE Debtor
        3616 Luckylee Crescent
        North Chesterfield, VA 23234

        Padma Vaghela
        Claims Processor for Capital One Auto Finance
        AIS Portfolio Services, LP
        P. O. Box 165028
        Irving, TX 75016

                                                             /s/ Suzanne E. Wade                  .




                                                                 Chapter 13 Trustee




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